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 Attorney or Party without Attorney:                                                                                  For Court Use Only
 Chad F. Clement, Esq. (#271161)
 Marquis Aurbach Coffing
 10001 Park Run Drive
 Las Vegas, NV 89145
   Telephone No: (702) 382-0711

      Attorney For:                                              Ref. No. or File No.:
                      Attorney for Movant Interior Electric
                                                                 INTERIOR V BEVERLY
                      Incorporated Nevada
 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA - EASTERN
 DIVISION
     Plaintiff:   INTERIOR ELECTRIC INCORPORATED NEVADA,
 Defendant:       MELINDA BEVERLY, et al.

           PROOF OF SERVICE                   Hearing Date:             Time:            Dept/Div:        Case Number:
                                                11-03-2020               10:00am                          20-mc-00024 -JGB (SPx)


1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the MOVANT INTERIOR ELECTRIC INCORPORATED NEVADA’S NOTICE OF MOTION AND MOTION TO
      COMPEL COMPLIANCE WITH RULE 45 SUBPOENAS DUCES TECUM AND FOR ATTORNEY FEES; MEMORANDUM OF POINTS
      AND AUTHORITIES; Notice of Electronic Filing

3.    a.    Party served:    Schiff & Shelton, Attorney's at Law, and Melinda Beverly - c/o Ralph Shelton, Esq.
      b.    Person served:   Ralph Shelton - Personally

4.    Address where the party was served:       3700 Campus Dr., #202, Newport Beach, CA 92660

5.    I served the party:
      a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the party (1) on: Thu, Oct 08 2020 (2) at: 02:46 PM

6. Person Who Served Papers:
   a. Bijan Ghaemi                                                                            d. The Fee for Service was:
   b. FIRST LEGAL
      NEVADA PI/PS LICENSE 1452
      2920 N. Green Valley Pkwy, Suite 514
      Henderson, NV 89014
   c. (702) 671-4002




7.    I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                10/13/2020

                                                                                    (Date)                                  (Signature)




                                                                     PROOF OF                                                                 4952272
                                                                      SERVICE                                                              (55157002)
